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•      Event: Duncan Wainwright,
       Type of event: Interview
                                       MEMORANDUM

                                           Assistant
                                                             FOR THE RECORD

                                                        Division Counsel, WFO, FBI


       Date: August 13, 2003
       Special Access Issues: None
       Prepared by: Peter Rundlet
       Team Number:        6
       Location:      FBI, Washington Field Office
       Participants    - Non-Commission:     Sean O'Neill, Assistant General Counsel
       Participants    - Commission:   Lance Cole and Peter Rundlet


                Background. Duncan Wainwright graduated from Valparaiso School of Law in 1979.
       He came to the FBI in 1982 as an Agent, starting in the Chicago Field Office. In 1983, he was
       sent to the Hickory, North Carolina Resident Agency and in June, 1984 he came to the




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       Washington Field Office (WFO) as a street crime Agent. In 1987, Wainwright went to FBI
      Headquarters (HQ) as a Supervisor in the Organized Crime Section. From 1991-92 Wainwright
      had a brief "stint" in the Civil Litigation Unit of the Office of the General Counsel (OGC). In
       1992, Wainwright returned to the WFO to be an SSA in charge ofa Labor Racketeering squad.
      In 1994, Wainwright switched to the Healthcare squad. He later became "Inspection Certified"
      and in 1999, he rotated to the Office of Division Counsel at WFO. There are four counsels in the
      office at WFO: he is the Assistant Division Counsel (ADC) for Foreign Counterintelligence
      (FCI) and Counterterrorism (CT); another does FOIA, one does administrative law and civil
      litigation; and one does criminal advice and training, and. this person does most of the "Title lIT'
      work.

               Job Description, Pre-9ft!. National security has been the focus of Wainwright's   work
      since 1999. Wainwright had to seek a detail to the National Security Law Unit (NSLU) at HQ
      for six weeks for "immersion training" to get up to speed. Prior to 9111, the NSLU had 9
      attorneys; now it has 25. The Unit Chief for the NSLU was Mike Woods until about a year ago;
      Woods had Wainwright sit in on the weekly Unit meetings and he continues to attend those to
      this day. Prior to 9/11, Wainwright assisted Agents with Foreign Intelligence Surveillance Act
      (FISA) applications on the National Security Division (NSD) side, as well as compulsory process
      National Security Letters (NSLs). He frequently provided operational guidance to NSD Agents.
      Agents on the NSD side were "confused" about dealings with the US Attorneys Office and he
      acted as a liaison with the Office of Intelligence Policy and Review (OIPR , who he called "the
      enforcers of h         "                                     .     .




•           . The Wall. Before the Foreign Intelligence Surveillance Court"ofRev'i~w opinion that
      tore down the Wall, Wainwright said the Wall was clearly in place.ientrenched,
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•    enforced by OIPR. There is-significant discussion of the Wall issue and how the Wall was
     "killing the FBI" in the Bellows Report, done by Randy Bellows on the Wen Ho Lee case.
     Wainwright said that he "was surprised to learn of the Wall" since he came from an organized
     crime background. Wainwright said that there was limited sharing of FISA or non-FISA
     information between Intelligence investigations and criminal. Wainwright stated that David Cris
     wrote an internal DOJ monograph on the Wall and provided testimony on the Hill. During this
     era, Wainwright helped guide compliance and he attempted to make operational progress by
     using the exceptions.

              The Wall had a very significant effect on the FBI's Counterterrorism (CT) and
      Counterintelligence (Cl) activities because they "couldn't deal with the criminal guys."
     Wainwright mentioned the "primary purpose" test which was built into the FISA. As a
     precautionary measure, they disallowed CI and CT agents from talking to the criminal agents
     (they feared that if they talked to the criminal agents, they might be suspected of not having
     foreign intelligence as the "primary purpose" of the FISA. For every case involving a U.S.
     person, a Letterhead Memorandum (LHM) was submitted to OIPR. Wainwright believed there
     were LHMs on non-U.S. persons as well, but that this was less stringent. Prior to the Patriot Act,
     there was no clear-cut mechanism to share infonnation with the criminal side. Wainw .
     stressed the iron ofthi                           9/11 Classified Information

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            Attorney General Guidelines.    Wainwright said that there were three applicable AG
    Guidelines: (1) the July, 1995 AG Guidance (from Reno); (2) the 2000 Deputy AG Guidance,
    which clarified the earlier AG Guidance; and (3) the early 2001 Guidance, which explained the
    prior two.

            FISAs prior to 9/11. Prior to 9/11, the FBI ran lengthy Form 199 intelligence cases,
    where they tried to keep track of individuals and disrupt them, but generally not criminal
    prosecutions. Deportation under the Absconder Program was an option, but it was not a strong
    tool. Prosecution on small matters (e.g., food stamp fraud) was used only very infrequently
    because of the concern that the FBI could be accused of using a FISA to make a petty crime case.

           Before 9111, Wainwright said that they would submit "50-page tomes" for affidavits to
    make clear that n          ...                   . on. They would write "even 30 pages" for


             LHMs. The purpose of the LHM was to identify the nature of your investigation.
    Wainwright said that "sometimes criminal activity ended up in the LHM, but it was not required
    until 2002." The LHM was also required to keep HQ and OIPR apprised of all intelligence
    investigations. Wainwright noted that OIPR has an oversight function for all intelligence cases.

             OIPRlOversigbt.    OIPR processes warrants and provides guidance on investigations.
    Occasionally, Wainwright said, OIPR would advise the FBI to close certain cases. Wainwright




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    said that there was a general perception that the Wall was "crazy," and that it hampered them.
    They felt like they fought the battle and lost. Agents feared that they would be sanctioned by the
    Intelligence Oversight Board, which is a Presidential entity that could sanction the agents



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           personally ..."There was a sense that discipline was not meted out fairly between higher-ups and
           agents."      .

                  The Wall wasclearly one-way from the intelligence (NSD) side to the criminal side.
           Going the opposite way, Grand Jury information under Rule 6(e) and Title III was also limited in
           what they could share, but notnearly as tight a restriction in this direction. Wainwright said that
           the Wall even affected personal relationships between criminal and intelligence agents.

                    FISA Application Process. Prior i(H~(11, agents would first have to draft lengthy LHMs
           requesting that a FISA be done, and they wouldinclude a lot of information. Then, the LHM
           was sent to a GS-14 counterpart at HQ, who would then have to craft the LHM into an affidavit
           that showed probable cause - "but it was really a higherstandard:     beyond certainty." From
           there, it would go to the NSLU to get edited and blessed. They.had to craft it into the proper
         . format before sending it to OIPR. Wainwright said this process took months. 91PR then took
                                                                                    I
         \ time to review the application. Prior to 9/11. they had other nriorities .......                     _
                                                                            IBut, Wainwright noted, this
           takes up the AG's time and the Court's time'


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  •                NSLs. Before the Patriot Act, National Security Letters were limited to 3 types of
          entities: (I) phone carriers and Internet Service Providers; (2) financial institutions (those listed
          in the Right to Privacy Act; specifically, banks and credit unions, not casinos, brokerage houses,
          pawn shops, etc.); and (3) credit reporting companies (they can get accounts, addresses, and
          employment, but not balances). Since 9/11 the scope ofNSLs has not changed, although the
          standard has changed. Before 9/11, they had to have specific articulable facts and circumstances
          that X was engaging in terrorism, for example. The Assistant Director in Charge (ADIC) had to
          certify them. The WFO did their own, but for the other non-ADIC offices, the requests had to be
          sent to HQ and "it would take months to get an NSL." Wainwright noted that 18 U.S.C. 2709
          has the provisions for NSLs for phones.

                  The new standard is that the information sought would be relevant to a case pertaining to
          eFI or CT (a relevance standard). Also, under the new standard, an SAC can certi fy to this,
          which makes it a lot easier, process-wise. At present, though, authority for NSLs is still limited
          to the 3 areas listed. [But note that there is legislation that greatly expands the definition of
          "financial institution" in the 2004 Intelligence Authorization bill extending. the reach to casinos,
          pawn shops, etc.] Wainwright complained that even under the lower standard there are many
          things an agent cannot get in an intelligence case that they can easily get in a criminal case under
          a Grand Jury subpoena.




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                  Mail and Trash Covers. Wainwright said that the SAC can request that the Postal
          Service copy the outside of letters for 30 days, when the request is made for a criminal case.
          This is run by the Postal Inspectors .. On the national security/intelligence side, the FBI makes a


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•    request of the AG to get a 90-day mail cover. The AG, through OIPR, must sign off on the
     request. An LHM is required to get a mail cover for intelligence purposes. Wainwright said that
     the SAC can sign off on a request for a trash cover since there is a lower expectation of privacy
     when it comes to trash.

             Wainwright said that there is currently a problem with the Postal Service on mail covers.
     According to Wainwright, the Postal Service has the authority to tum down requests for mail
     covers by the AG, and sometimes rejects the request. Wainwright said that this is a recurring
     problem now. Wainwright said that Jack Livingston, the Unit Chief of the NSLU, is deaJing
     with the Postal Service on this.

              Patriot Act & the "199 Order."     Wainwright said that Mike Woods, who is currently
     with MZM, a Department of Defense contractor that focuses on terrorism, was the primary FBI
     person involved with drafting the Patriot Act. Wainwright said that as a practical matter, the
     Wall did not come down until the FISA Court of Review opinion. The FISA Court of Review
     (which is the appellate court for FISA issues, and which has only been convened this one time)
     actually rewrote the AG Guidelines. But this came later. After the Patriot Act, the Foreign
    Intelligence Surveillance Court (FISC, which is the first-level court for FISA issues)
    reestablished the Wall to some extent. Thereafter, the FISA Court of Review reversed the
    decision and took down the Wall. Even before the FISA Court of Review opinion, however, the
    FISC had issued an order approving a request by the Terrorism and Violent Crime Section (now,




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    the Counterterrorism Section) of the Criminal Division to have their attorneys review the FBI's
    Form 199 (terrorism intelligence case) investigation files for the purpose of identifying any
    criminal violations that suspected terrorists could be charge with. This was called the "199
    Order." So, the DO] attorneys reviewed the FBI's 199 files, primarily at HQ, according to
    Wainwright. When the Wall finally came down after the FISA Court of Review's opinion,
    Ashcroft established a policy to have AUSAs come over and review the FBI's 199 files to.
    identify "any violation." The idea was to use every tool available. Wainwright said that not
    many criminal cases came out of this effort, but the Virginia Jihad case did.

              Class 199, 265, & TEl Investigations. Class 199 cases are terrorism intelligence cases,
    and they are worked under the AG Guidelines for FeI and CT (the "FCr guidelines," which are
    classified and have been unchanged since Reno). Class 265 cases are terrorism criminal cases,
    and they are worked under the AG Guidelines for General Crimes in Terrorism (these were
    changed in April or May, 2002). So, Wainwright emphasized, there are two different sets of
    guidelines that apply to terrorism cases.

              Wainwright said that HQ's position was that the FBI can work 199 cases under the
    Guidelines and if there is a criminal aspect to the case, then the agents can open up a 265 case
    and work that under the criminal guidelines. Wainwright said that if a 265 case is opened up
    first, then the rule is that a 199 must be opened as a parallel case. Wainwright called this "a
    paper exercise - since both are discoverable." Wainwright said that some agents were "dual
    hatting" - the same agents would sometimes have both files.




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             Wainwright said that the new guidelines in 2002 allowed for Terrorism Enterprise
    Investigations (TEIs), where previous guidelines referred to Racketeering Enterprise
    Investigations (REIs). Wainwright noted that the WFO is doing on T~I.fo~
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           "all that great."
                                          ~n the Washington, DC metropolitan area. He said that they had
           to get HQ sign-off from the CT Section [of DOJ?]. Wainwright said the TEl was run by the
           Joint Intelligence Task Force JITF the intelli ence s uad and that it is not being implemented
                                            9/11 Law Enforcement Sensitive                 Wainwright
           noted that Jeff ReI 01 0 the CT Section and Gordon Crombie (sp?) of the Eastern District of
           Virginia, are very supportive.

                   [Note that the distinction between class 199 and class 265 cases is going to go away when
           the two are merged into class 315 cases.] Wainwright said that post-9/ll, there are no walls
           within the FBI record system and that one agent is working both sides of a case.

                Attorney-Client    Communications.      With respect to monitoring privileged conversations
       between attorneys and their clients, Wainwright said that, under FISA, the rules allow listening
       to privileged conversations when the subject has not yet been indicted because the monitoring is
       done for intelligence purposes. He said there may be new implications now that there is no Wall.
       Wainwright said that, for protection, they work these conversations so that the AUSAs that
       review the class 199 cases cannot see the take from the conversations. Wainwright said that
       there is a bright-line rule that requires that only the FISA Court can modify these rules. Once a
       subject is indicted, then OIPR is required to approve. Wainwright said this was analogous to
       prison monitoring rules.




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                 FISAlTitle III Standards.   Under the old FISA standard, agents had to show probable
        cause that the person is an agent ofa foreign power and that he will use the specific facility (e.g.,
        telephones). In order to get a search warrant under Title III, the FBI has to show probable cause
        that the target has committed a crime and that he used the specific facility (e.g., telephone) in
       furtherance of the crime (the so-called "dirty phone").




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               Wainwright emphasized that "now we can get information under FISA and use it in
       criminal cases, without going to Title III."

                 Authority   under Different   Phases of Investigation         (PI v. FFI). During the phase prior




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       to a Preliminary Inquiry (Pl), what the FBI can do in the CFIICT context is very limited.
       Essentially, an agent can do one record check, Wainwright said. On the criminal side, an agent
       can do more. Wainwright noted that an agent can use all lawful investigative techniques during
       a full field investigation (FFI) for a criminal case. As a result, nearly all criminal international


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•        terrorism (IT) cases go directly to a FFI, skipping the PI. For non-criminal cases, agents need to
         have a PI to question a subject. A PI can be opened when there is a "reasonable suspicion" that
         the person may be involved in IT or clandestine activity. Under a TEl, there is a perpetual FFI
         that is renewed on an annual basis.



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        .... _ ......Wainwright said that a threat ·assessment                 9/11 Classified    Information

                      as not shared.         9/11 Classified Information



                                 amwn t continued: "If we're giving them too much, someone needs to
                            t ere is no MOV in place for sharing information.




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                 Looking forward. Wainwright said that it would be nice to use section 215 of the
        Patriot Act (regarding library records, etc.) and it will "be nice" to use the roaming wiretaps. He
        mentioned that they are trying to modify the definition of "financial institution" for the purposed
        of getting an NSL. He thinks there is a lot of "good stuff' in Patriot Act II. He also said that the
        FBI would like to get tax information - that they cannot get the information ex parte.




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